850 F.2d 690Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Michael THOMAS, Plaintiff--Appellant,v.David WILLIAMS, Warden, Powhatan Correctional Center;  JerryDavis, Records, Mecklenburg Correctional Center;Toni V. Bair, Administrator;  Edward W.Murray, Director, Defendants--Appellees.
    No. 88-7583.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 24, 1988.Decided:  June 15, 1988.
    
      Robert Michael Thomas, appellant pro se.
      Stephen Douglas Rosenthal (Office of the Attorney General of Virginia), for appellees.
      Before DONALD RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Michael Thomas appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Thomas v. Williams, C/A No. 88-154-N (E.D.Va. March 14, 1988).
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    